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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORG

SAVANNAH DIVISION CR 42j- 0 ] 3 9

UNITED STATES OF AMERICA INDICTMENT NO.

Vv.

21 U.S.C. § 841(a)(1)

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) Possession with Intent to
JAVARUS MCKINNEY ) Distribute and Distribution ofa

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a/k/a “JODY” Controlled Substatice (Eentanyl)
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and

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DARIEN COTHERN

THE GRAND JURY CHARGES THAT:

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COUNT ONE
Distribution of a Controlled Substance (Fentanyl)
21 U.S.C. § 841(a)(1)

On or about August 12, 2020, in Bryan County, within the Southern District

of Georgia, the defendants,

JAVARUS MCKINNEY
a/k/a “JODY,” and
DARIEN COTHERN,

aided and abetted by each other and by others unknown, did knowingly and
intentionally distribute a mixture or substance containing a detectable amount of
fentanyl, a Schedule II controlled substance; and death resulted from the use of such

substance.

All in violation of Title 21, United States Code, Section 841(a)(1) and Title 18,

United States Code, Section 2.
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COUNT TWO
Possession with Intent to Distribute and Distribution of a Controlled Substance
(Fentanyl)
21 U.S.C. § 841(a)(1)

On or about February 4, 2021, in Bryan County, within the Southern District
of Georgia, the defendant,

JAVARUS MCKINNEY
alk/a “JODY,”

did knowingly and intentionally distribute a mixture or substance containing a
detectable amount of fentanyl, a Schedule II controlled substance.
All in violation of Title 21, United States Code, Section 841(a)(1) and Title 18,

United States Code, Section 2.
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COUNT THREE
Possession with Intent to Distribute and
Distribution of a Controlled Substance in or Near Schools (Fentanyl)
21 U.S.C. §§ 841(a)(1) and 860
On or about February 4, 2021, in Bryan County, within the Southern District
of Georgia, the defendant,

JAVARUS MCKINNEY
alk/a “JODY,”

knowingly and intentionally distributed a mixture and substance containing a
detectable amount of fentanyl, a Schedule II controlled substance, in violation of Title
21, United States Code, Section 841(a), within 1,000 feet of the real property
comprising Richmond Hill High School, a public high school.

All in violation of Title 21, United States Code, Section 841(a)(1) and 860.
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NOTICE OF ENHANCED PUNISHMENT
21 U.S.C. § 851

Before the commission of the offenses charged in Count One through Three,
the following defendant had a final conviction for a serious drug felony or serious
violent felony as described below:

a. JAVARUS MCKINNEY a/k/a “JODY,” Possession of a Controlled

Substance With Intent to Distribute in Chatham County Superior Court
Case No. SPCR19-00640-J5, for which JAVARUS MCKINNEY a/k/a
“JODY,” served a term of imprisonment of more than 12 months.

As a result of the conviction, Defendant is subject to increased punishment under

Title 21, United States Code, Section 841(a)(1) as outlined in the penalty certification.
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FORFEITURE ALLEGATIONS
The allegations contained in Counts One through Three of this Indictment are
hereby re-alleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to Title 21, United States Code, Section 853.
Pursuant to Title 21, United States Code, Section 853, upon conviction of any
offense in violation of Title 21, United States Code set forth in this Indictment,
Defendant

JAVARUS MCKINNEY
a/k/a “JODY,”

shall forfeit to the United States any property constituting, or derived from, any
proceeds obtained, directly or indirectly, as the result of such offense and any property
used, or intended to be used, in any manner or part, to commit, or to facilitate the
commission of, the offense(s). The property to be forfeited includes but is not limited
to:

a. $11,800.00 U.S. Currency;

b. $1,170.00 US Currency; and

c. White 2017 Chevrolet Impala LS, VIN 2G11Z5SA9H9189741.

If, as a result of any act or omission of a defendant, any of the property subject
to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of this Court;

d. has been substantially diminished in value; or
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e. has been commingled with other property which cannot be subdivided
without difficulty,

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of

the forfeitable property.

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David H. Estes Frank M /Pe

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Acting United States Attorney (Assistant United States Attorney
*Lead gp Us
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Karl Knoche / ~ Noah Abrams
Assistant United States Attorney Assistant United States Attorney
Chief, Criminal Division *Co-lead Counsel
